JS 44 (Rev. 04/2 1)                                     'f ()S'. ~ CIVIL COVER
                                            Case 2:24-cv-00597-RAH-CWB          SHEET
                                                                          Document 1-3 Filed 09/24/24 Page 1 of 1
The JS 44 civi l cover sheet and the in fo rmati o n contained herein ne ither re pl ace no r suppl e ment the filin g and service of pleadin gs o r o ther papers as required by law, except as
provi ded by loca l rul es o f co urt. T his fo rm , approve d by the Judi c ia l Conference of the Unite d States in Septe m be r 1974, is requ ired for the use o f the C le rk of Court for the
purpose of initi ating the civ il docket s heet. (SEE INSTIW CTIONS ON Nl:XT !'Aul:" OF THIS FORA/.)
I. (a) PLA I NTIFFS                                                                                                                                                DEFENDANTS

               RASHAD HUBBARD                                                                                                                                      F.H CANN & ASSOC IATES , INC. ,

      (b) Count y of Res idence o f F irst Listed Pl a intiff                                    Montgomery                                                        Coun ty of Res ide nce o f First Li sted Defe nd ant
                                                (EXCJ:"PT IN U.S PI..A JN TIJ 'F CASE,~                        j,                ,' ;                                                                         (IN U. S PI..AIN71FF CASI:.•.\. ONLY)
                                                                                            1/'oi~             1,..:;,,.,..,   L~l
                                                                                                                                                                   NOTE :          IN LAND CON DEMNAT ION CASES , USE TH E LOCATION OF
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      (c)      A tto rneys (!··,rm Nam e, Address, a11d Telep/ro, a1 { 11 /fJ,j l                            ? Lj          /:-. II : 05                             A tto rneys (If Knmv11)
               Rashad Hubbard                                                        ,..__ , .. _.
               207 Azalea Park Ln
      Montaomerv AL 36106
II. BAS IS OF JURISDICTION (Place a11 "X" 111011e Box011/y)                                                                                  Il l. C I T I ZE SHIP OF PR I NCIPAL PARTIES (Place a11 "X" 1110ne Box/or Pla11111[f
                                                                                                                                                             (Fo r D1vers11y Cases 011/y)                                                                                and O11e Box/or Defendanl)
0     I    U.S. Government                              [!] 3       Federal Question                                                                                                    PTF                            DEF                                                                 PTF            DEF
              Pl aintiff                                               (U.S. Go vernment Not a Party)                                               Citizen of This State                            [!] I          O                  Incorporated or Principal Place                          O4        [!] 4
                                                                                                                                                                                                                                         of Bu siness In Thi s State

0     2    U.S. Governm ent                             0     4     Di versity                                                                      Citi zen of Another State                        0    2         □ 2                Incorporated and Principal Place                         □         Os
             Defendant                                                 (/11d1 cate C111:ensh1p of Parlles 111 Item Ill)                                                                                                                   of Business In Another State

                                                                                                                                                    Citi zen or Subject of a                         0    3         □ 3               Foreign Nati on                                           0    6    0     6
                                                                                                                                                       Foreign Country
 I V. NATURE OF SUIT (Place an "X " 111 One Box 011/y)                                                                                                                                                   Click here for : Nature of Suit Code Dcscri tions.
                CONTRACT                                                                       TORTS




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      11 0 Insuran ce                                       PERSONA L I NJURY                              PERSONAL I 'JURY                              625 Dmg Related Seizure                                422 Appeal 28 USC 158                                            37 5 False Clai ms Act
      120 Marine                                            3 10 Airplane                            O 365 Personal Injury -                                 of Property 2 1 USC 88 I                           42 3 Withdrawal                                                  376 Qui Tam (3 1 USC
      130 Mi ll er Act                                      3 15 Airpla ne Product                         Product Liabili ty                            690 Other                                                         28 USC 157                                                 3729(a))
      140 Negotiable lnstmment                                    Liability                          O 367 Health Care/                                                                                              INTELLECTUAL                                                400 Stale Reapport ionm ent
0     150 Recovery of Overpayment                           320 Assault, Libel &                             Pharm ace utical                                                                            1--:-- P;..R;,,;O.;;;.;;.P.,;;E;.;.R;..T;..;...;.
                                                                                                                                                                                                                                                   Y R;.;.IG=H;..T;,,;S;....--i~ 4 10 An titrust
          & Enforcement of Judgment                               Slander                                    Personal Injury                                                                                                                                                     430 Banks and Banking
0     151 Medicare Act                                      330 Federal Employers'                           Product Liability                                                                                                                                                   45 0 Commerce
0     152 Recovery of Defaulted                                   Liabi lity                         O   368 Asbestos Personal                                                                                     835 Patent - Abbreviated                                      460 Deportation
           Student Loans                                    340 Marin e                                       Injury Product                                                                                           New Drug Appli cation                                     4 70 Rac keteer Influenced and
           (Excludes Veterans)                              345 Marin e Product                               Liability                                                                                            840 Trademark                                                      Corrupt Organizations
0     153 Recovery of Overpay ment                                Liability                             PERSONAL PROP ERT Y                                        LABOR                                           880 Defend Trade Secrets                                   IC 480 Consumer Credit
           of Veteran' s Benefits                           350 Motor Vehi cle                       O   370 Other Fraud                                 710 Fair Labor Standards                                      Act of 20 16                                                   ( 15 USC 168 1 or 1692)
0     160 Stockholde rs' Suits                              355 Motor Vehicle                        O   37 1 Truth in Lending                                Act
                                                                                                                                                                                                         1 - -S""OC-.,.IA
                                                                                                                                                                                                                       - L""'S""E'"C""U"'RI-T""Y-- -t-' 485 Tpelephone CAonsum er
0     190 Other Contract                                         Product Liabi lity                  O   380 Other Personal                              720 Labor/Management                                                                                 rolec11 on ct
0     195 Contract Product Liabili ty                       360 Other Personal                                Property Damage                                 Rel ations                                      86 1 HIA ( 1395ft)                        490 Cabl e/Sat TV
0     196 Franchi se                                             Injury                              O   385 Property Damage                             740 Railway Labor Act                                862 Black Lung (923)                      850 Securit ies/Comm odities/
                                                            362 Personal lnjury -                             Product Liability                          75 1 Famil y and Medical                             863 DIWC/DIWW (405(g))                         Exchange
                                                                 Medical Malpracti ce                                                                         Leave Act                                       864 SSID Titl e XV I                      890 Other Stat utory Actions
1-,_...,;,;
         R;;;E;;,;A;,;;L;,,,;P
                             ;,,,;R
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                                                                                                                                     - E..,R~P-E_l _
                                                                                                                                                   ·1T
                                                                                                                                                     _ I_O;._.;....t=9 790 Other Labor Litigati on            865 RSI (405(g))                          89 I Agricultu ral Acts
    2 10 Land Condemnation                                      440 Other Civil Rights                                       H abeas Co rpu s:                         79 1 Employee Retirement                                                         893 Environmental Matters
0 220 Foreclosure                                               44 1 Voting                                                  463 Alien Deta inee                            In come Security Act         1---===,..,-,-,,=,.,.,,==--t-1 895 Freedom of In formati on


§   230 Rent Lease & Ejectmenl
    240 Torts 10 Land
    245 Tort Product Liability
0 290 All Other Real Property
                                                                442 Employment
                                                                443 Housin g/
                                                                     Accomm odati ons
                                                                445 Amer. w/Disabili ties -
                                                                                                                             5 10 Motions 10 Vacate
                                                                                                                                  Sentence
                                                                                                                             530 General
                                                                                                                             535 Death Penalty
                                                                                                                                                                                                                   870 Taxes (U.S.
                                                                                                                                                                                                                        or Defendant)
                                                                                                                                                                                                                   87 1 IRS- Third Party
                                                                                                                                                                                                                         26 USC 7609
                                                                                                                                                                                                                                                                                       Act
                                                                                                                                                                                                                                                                                   896 Arbitration
                                                                                                                                                                                                                                                                                   899 Admini strati ve Procedure
                                                                                                                                                                                                                                                                                       Act/Review or Appeal of
                                                                     Employment                                              Other:                                                                                                                                                    Agency Decision
                                                                446 Amer. w/Disabiliti es -                                  540 Mandamus & Other                                                                                                                                  950 Constitut ionality of
                                                                     Other                                                   550 Civil Ri ght s                                                                                                                                        State Statutes
                                                                448 Educati on                                               555 Pri son Conditi on
                                                                                                                             560 Civil Detainee -
                                                                                                                                  Conditi ons of
                                                                                                                                  Confinement
    V. ORIG I N (Placeon ".\"" 1110neBox 011/y)
[!] I       O ri g inal               0    2 Re moved fro m                           0      3      Remanded fro m                        D 4 Re instated o r D 5 Trans ferred fro m D 6 M ultidi strict                                                                                D 8 M ulti di stri ct
            Proceedi ng                      State Court                                            A ppe ll ate Court                               Reopened                              A nothe r Di strict                                      Liti gatio n -                             Litig atio n -
                                                                                                                                                                                           (~pecify)                                                Trans fe r                                 Direct Fi le
                                                               C ite the U.S. C ivi l Statute under whi ch yo u a re filin g (Do 1101 ci1e j11risdictio1wl sll1t111es 1111/ess diversity):
                               _._s_c-"§-1-69-2 k_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    VI. CAUSE OF ACTION 1-1 s_ u                                                                                                                                                                               _ _ __                           _ _ _ _ _ _ _ _ _ __                                            _
                                                               Brief descriptio n of cause :
                                                               by fa iling to cease collection afte r receiving written notice .
    VII. REQUESTED I N                                        0        C HECK IF TH IS IS A C LASS ACT ION                                                DEMAN D $                                                             C H EC K Y ES o nl y if de manded in compl aint :
         COMPLAINT:                                                    U D E R R U LE 23 , F.R.C v P                                                                                                                            JURY DEMAN D:                                       [!) Yes     O o
    VIII. RELATED CASE(S)
                                                                    (.\'ee 111s1111uum.,) :
          I F ANY                                                                                     J UDGE
                                                                                                                               ------------------ DOCK ET                                                                                       UMBE R
                                                                                                                                                                                                                                                                    -------------
                                                                                                           SIGNATURE OF ATTO RNEY OF RECORD


    FOR OFFICE USE ONLY
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      RECEIPT #                                   AMOU T                                                            APPL YING IFP                                                      JUDGE                                                           MAG . JUDGE
